          Case 4:06-cr-40002-JPG                     Document 81         Filed 02/02/07            Page 1 of 6         Page ID #257
%A0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet l




                       SOUTHERN                                   District of                                   ILLINOIS

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                  ALAN C. DONEGHUE
                                                                          Case Number:           4:06CR40002-003-JPG

                                                                          USM Number: 10012-033
                                                                           David M. Williams
                                                                          Defendant's Attorney
THE DEFENDANT:
            guilty to count(s)       1 of the Second Superseding Indictment.                                  FEB 0 7 7~
   pleaded nolo contendere to count(s)                                                                  CLERK, U.S. DIS~RICT
   which was accepted by the court.             SOUTHBRNILU
                                                                                                              BEWON OFflCE
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended                 Count

                                                                                                                                       . ...




       The defendant is sentenced as provided in pages 2 through              10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
I
3Count(s)                                                  is         are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this d~s$ct within 30 & s of any change of name, resjdence,
or mailing address unti!all fmes, restitufion,,costs,and special assessmeqts i q o s e d by t h ~judgment
                                                                                                  s       are fuYy paid. If ordered to pay reshtution,
the defendant must not~fythe court and Unlted States attorney of rnatenal changes m econormc circumstances.




                                                                           J. Phil Gilbert          2                   District Judge
                                                                          Name of JF-~                                Title of Judge
            Case 4:06-cr-40002-JPG                       Document 81           Filed 02/02/07          Page 2 of 6        Page ID #258
A 0 2458        (Rev. 06/05) Judgment in Criminal Case
                Sheet 2 -Imprisonment
                                                                                                            Judgment-   Page   2   of    10
DEFENDANT: ALAN C.DONEGHUE
CASE NUMBER: 4:06CR40002-003-JPG


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  63 months on Count 1 of the Second Superseding Indictment.




      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:

                  at                                        a.m.     Cl p.m.      on
                  as notified by the United States Marshal.
                P
           The defendant shall sunender for service of sentence at the institution designated by the Bureau of Prisons:
           0 before 2 p.m. on
           fl as notified by the United States Marshal.
           [3      as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                              to

 at                                                        , with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                BY
                                                                                                       DEPUTY UNITED STATES MARSHAL
               Case 4:06-cr-40002-JPG                       Document 81      Filed 02/02/07          Page 3 of 6          Page ID #259
A 0 245B         (Rev. 06/05) Judgment in a Criminal Case
                 Sheet 3 - Supervised Release
                                                                                                              Judgment-Page       3     of        10
DEFENDANT: ALAN C. DONEGHUE
CASE NUMBER: 4:06CR40002-003-JPG
                                                               SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

      4 years on Count 1 of the Second Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released w i t h 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defepdant shall s h t to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detemned by the court.
 Jj         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
            The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
            student, as directed by the probation officer. (Check, if applicable.)
            The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of t h ~judgment.
                                         s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
             each month;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
             the defendant shall support his or her dependents and meet other family responsibilities;
             the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
             the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
              the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or admmister any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physlclan;
             the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or admmistered;
             the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted pemssion to do ~ 0 the % pro    Q
                                                                ~ anon officer;

             the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit c ~ ~ s c a t i of
                                                                                                                                                  o nany
             contraband observed in plaln view of the probation officer;
             the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
             the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
             as directed by the robation officer, the defendant shall notify ,third parties of risks that may be occasioned by the defendant's criminal
             record or           history or characterist~csand shall p e m t the probat~onoficer to make such not~ficationsand to confirm the
             defendant s compliance with such notification requirement.
           Case 4:06-cr-40002-JPG                      Document 81   Filed 02/02/07   Page 4 of 6        Page ID #260
A 0 2458    (Rev. 06/05) Judgment in a Criminal Case
            Sheet 3C - Supervised Release
                                                                                             Judgment-Page    4     of      10
DEFENDANT: ALAN C. DONEGHUE
CASE NUMBER: 4:06CR40002-003-JPG

                                          SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten percent
 of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
A 0 2458   Case     4:06-cr-40002-JPG
            (Rev. 06/05) Judgment in a Criminal Case Document 81              Filed 02/02/07          Page 5 of 6           Page ID #261
            sheet 5 -criminal   Monetary Penalties
                                                                                                         Judgment-   Page     5   of       10
DEFENDANT: ALAN C. DONEGHUE
CASE NUMBER: 4:06CR40002-003-JPG
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                         -
                                                                           Fine                                Restitution
 TOTALS             $ 100.00                                            $ 200.00                             $ 0.00



     The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned .ayrnent, unless specified otherwise @
     the pnorlty order or perqentage payment columnielow. However, pursuant to 18 Qs.8. 366461, all nonfederal v~ctlmsmust be pa~d
     before the Un~tedStates is paid.

 Name of Payee                                                              Total*                Restitution Ordered Priority or Percentage




 TOTALS                                $                        0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). A11 of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).

 @ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the             @( fine          restitution.
           the interest requirement for the          [7 fine           restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnl23, 1998.
A 0 2458   Case    4:06-cr-40002-JPG
            (Rev. 06105) Judgment in a Criminal Case Document 81          Filed 02/02/07          Page 6 of 6            Page ID #262
            Sheet 6 -Schedule   of Payments
                                                                                                          J u d g m e n t Page   6   of          10
DEFENDANT: ALAN C.DONEGHUE
CASE NUMBER: 4:06CR4OOO2-003-JPG

                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows;

 A    @ Lump sum payment of $                                 due immediately, balance due

                  not later than                                , Or
                  in accordance               C,       D,     C] E, or            F below; or
B     [7 Payment to begin immediately (may be combined with                  C,          D, or     J
                                                                                                   -I F below); or
C           Payment inequal                        (e-g., weekly, monthly, quarterly) installments of $                       over a period of
                            (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D           Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            tern of supervision; or

E     [7 Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @( Special instructions regarding the payment of criminal monetary penalties:

             While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, ent ofcriminal monetary penalties is due durin
                                7
~mpnro-ent. All crlrmna moneta penalties, except those payments made throu$ac~ederal Bureau of Prisons' Inmate
Responsibility Program, are made to #e clerk of the court.
                                                                                                                                           ina an cia?
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), TotaI Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the follawlng order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
                                                        1
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, includmg cost of prosecuaon and court costs.
